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        1    Byron J. McLain (CA Bar No. 257191)
        2      bmclain@foley.com
             Nicholas J. Fox (CA Bar No. 279577)
        3      nfox@foley.com
             FOLEY & LARDNER LLP
        4    555 South Flower Street, Suite 3300
             Los Angeles, CA 90071
        5    TELEPHONE: 213.972.4500
             FACSIMILE: 213.486.0065
        6
          Attorneys for Plaintiffs Jeffrey
        7 Sulitzer, D.M.D; Jeffrey Sulitzer,
          D.M.D., P.C.; and SmileDirectClub,
        8 LLC

        9
                               IN THE UNITED STATES DISTRICT COURT
       10
                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
       11
                                             WESTERN DIVISION
       12

       13    JEFFREY SULITZER, D.M.D., an     )            Case No.: 2:19-CV-08902
       14    individual; JEFFREY SULITZER,    )
             D.M.D., a California Professional)            COMPLAINT FOR DAMAGES AND
       15    Corporation; and                 )            INJUNCTIVE RELIEF AS TO
       16    SMILEDIRECTCLUB, LLC, a          )            CLAIMS FOR:
             Tennessee limited liability      )
       17    company,                         )            (1) Violations of Federal
       18                                     )                Sherman Antitrust Act (15
                         Plaintiffs,          )                U.S.C. § 1, et seq.)
       19
                                              )
                   v.
       20                                     )            (2) Violations of Dormant
       21    JOSEPH TIPPINS, individually and )                Commerce Clause (U.S.
             in his official capacity as an   )                Const., art. I, § 8, cl. 3)
       22    Investigator in the Enforcement  )                pursuant to 28 U.S.C. § 1343
       23    Unit of the Dental Board of      )                and 42 U.S.C. § 1983
             California; KAREN M. FISCHER,    )
       24    M.P.A., individually and in her  )            (3) Violations of Equal
       25    official capacity as Executive   )                Protection Clause (U.S.
             Director for the Dental Board of )                Const., amend. XIV) pursuant
       26                                     )                to 28 U.S.C. § 1343 and 42
             California; and FRAN BURTON,
       27    M.S.W.; STEVEN MORROW,           )                U.S.C. § 1983
             D.D.S., M.S.; STEVEN CHAN,       )
       28                                                 1
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        1    D.D.S.; YVETTE CHAPPELL-            )         (4) Violations of Substantive
        2    INGRAM, M.P.A.; ROSS LAI, D.D.S.; )               Due Process (U.S. Const.,
             LILIAN LARIN, D.D.S.; HUONG LE, )                 amend. XIV) pursuant to 28
        3    D.D.S., M.A.; MEREDITH              )             U.S.C. § 1343 and 42 U.S.C. §
        4    MCKENZIE, ESQ.; ABIGAIL             )             1983
             MEDINA; ROSALINDA OLAGUE,           )
        5
             RDA, B.A.; JOANNE PACHECO,          )         (5) Violations of California’s
        6    RDH, M.A.O.B.; THOMAS               )             Unfair Competition Law (Cal.
             STEWART, D.D.S.; BRUCE L.           )             Bus. & Prof. Code § 17200, et
        7
             WHITCHER, D.D.S.; and JAMES         )             seq.)
        8    YU, D.D.S., M.S., each individually )
             and in their official capacities as )
        9
             Officers and/or Members of the      )            DEMAND FOR JURY TRIAL
       10    Dental Board of California; and     )
       11    DOES 1 – 10, inclusive,             )
                                                 )         DIST. JUDGE:
       12               Defendants.              )         MAG. JUDGE:
       13                                        )
                                                 )
       14                                        )
       15

       16

       17

       18                    BASIS FOR SUBJECT MATTER JURISDICTION

       19            As explained further in the body of this Complaint, this Court has

       20    federal question subject matter jurisdiction over several of the claims

       21    asserted in this Complaint pursuant to 28 U.S.C. § 1331 because those

       22    claims arise under the Constitution or laws of the United States. This

       23    Court has supplemental jurisdiction over the remaining claims pursuant

       24    to 28 U.S.C. § 1367 because those claims are so related to claims over

       25    which this Court has federal question jurisdiction that they form part of

       26    the same case or controversy under Article III of the United States

       27    Constitution.

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        1                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
        2            Plaintiffs Jeffrey Sulitzer, D.M.D.; Jeffrey Sulitzer, D.M.D., a
        3    Professional Corporation; and SmileDirectClub, LLC bring this Complaint
        4    against Defendants Joseph Tippins, individually and in his official capacity
        5    as an Investigator in the Enforcement Unit of the Dental Board of
        6    California (“Board”); Karen M. Fischer, M.P.A., individually and in her
        7    official capacity as Executive Director for the Board; and Fran Burton,
        8    M.S.W.; Steven Morrow, D.D.S., M.S.; Steven Chan, D.D.S.; Yvette
        9    Chappell-Ingram, M.P.A.; Ross Lai, D.D.S.; Lilian Larin, D.D.S.; Huong Le,
       10    D.D.S., M.A.; Meredith McKenzie, Esq.; Abigail Medina; Rosalinda Olague,
       11    RDA, B.A.; Joanne Pacheco, RDH, M.A.O.B.; Thomas Stewart, D.D.S.;
       12    Bruce L. Whitcher, D.D.S.; and James Yu, D.D.S., M.S., each individually
       13    and in their official capacities as Officers and Members of the Board; as
       14    well as DOES 1 – 10, inclusive, and allege:
       15                    INTRODUCTION AND NATURE OF THE ACTION
       16            1.    Plaintiff Jeffrey Sulitzer, D.M.D. is a licensed dentist practicing
       17    dentistry in California. Dr. Sulitzer owns Jeffrey Sulitzer, D.M.D.,
       18    Professional Corporation (“Sulitzer P.C.”). He is also the Chief Clinical
       19    Officer of Plaintiff SmileDirectClub, LLC (“SmileDirect”). As part of his
       20    dental practice, Dr. Sulitzer treats patients with misalignment or
       21    “malocclusion” of their teeth. For patients with mild to moderate
       22    malocclusion, Dr. Sulitzer has prescribed clear aligner therapy treatment,
       23    and continues to work with doctors associated with Sulitzer P.C. on
       24    treating patients with clear aligner therapy. An alternative to wire braces,
       25    this treatment uses a series of custom-made, removable plastic aligners to
       26    move the teeth in increments to their desired positioning.
       27

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        1            2.    Sulitzer P.C. contracts with SmileDirect to support Dr. Sulitzer’s
        2    practice, as well as the other state-licensed doctors and orthodontists
        3    affiliated with Sulitzer P.C. SmileDirect is a dental support organization
        4    (“DSO”) that provides non-clinical, administrative services, including its
        5    tele-dentistry platform (“DSO Services”) to the independent dental
        6    practices that contractually engage SmileDirect (“Affiliated Dental
        7    Practices”). These Affiliated Dental Practices in turn contract with state-
        8    licensed dentists and orthodontists (“Treating Doctors”), such as Dr.
        9    Sulitzer, who treat patients. SmileDirect pioneered the direct-to-consumer
       10    model for orthodontic clear aligners.
       11            3.    As one of its DSO Services, SmileDirect operates a national
       12    chain of SMILESHOP stores. Consumers who visit a SMILESHOP store,
       13    among other things, have their health and dental histories gathered
       14    electronically, obtain information about financing and pricing of clear
       15    aligner therapy, have free traditional and sophisticated photographs of
       16    their teeth and gums taken, learn about clear aligner therapy, and are
       17    shown visualizations of how clear aligner therapy can change their own
       18    smiles. SmileDirect then connects those consumers with Treating Doctors
       19    licensed in their respective states of residence for evaluation and, if
       20    deemed appropriate by the Treating Doctor, for clear aligner treatment.
       21            4.    Sulitzer P.C. also owns and operates a bus—called a
       22    SmileBus—that collects the same information and features the same
       23    photographic equipment as the brick-and-mortar SMILESHOP locations.
       24    This bus allows Dr. Sulitzer to reach consumers who cannot easily travel
       25    to a SMILESHOP store. The SMILESHOP stores and SmileBus provide
       26    consumers with a convenient, comfortable, and familiar environment in
       27

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        1    which to start their journeys toward a better smile, as opposed to
        2    traditional dental offices.
        3            5.    However, no one performs any clinical services at a SMILESHOP
        4    store or on a SmileBus. Rather, the trained employees at those locations
        5    take and then transmit the photographs and other consumer information
        6    the employees collect from the consumer to Dr. Sulitzer as a Treating
        7    Doctor (or to another Treating Doctor affiliated with Sulitzer P.C.). The
        8    Treating Doctor then reviews all of this information, determines whether
        9    they need additional information and ultimately determines whether the
       10    consumer is a viable candidate for clear aligner therapy treatment. At all
       11    times, the Treating Doctor has sole responsibility for determining,
       12    diagnosing, managing, and overseeing care for each of his or her patients.
       13            6.    The direct-to-consumer model supported by SmileDirect allows
       14    its Affiliated Dental Practices to reach large numbers of consumers who
       15    otherwise lack reasonable, convenient, and affordable access to teeth-
       16    straightening services. It also allows consumers to straighten their teeth
       17    at 60 to 70 percent below the prices of traditional in-office orthodontic
       18    treatments. The accessibility and affordability of clear aligners available
       19    through this model, including the use of the SMILESHOP stores and
       20    SmileBuses, has disrupted and threatens further to disrupt traditional,
       21    higher-cost orthodontic delivery models.
       22            7.    The majority of the Board consists of practicing dentists in
       23    California. By law, the Board must consist of eight practicing dentists, one
       24    registered dental hygienist, one registered dental assistant, and five public
       25    members. (Cal. Bus. & Prof. Code § 1601.1(a)) Currently, one of the five
       26    public members is a registered dental hygienist, and one public spot is
       27

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        1    open. In total, eleven of the fourteen Members practice in the dental
        2    industry.
        3            8.    The Board regulates and enforces the standards of the practice
        4    of dentistry and dental hygiene in California, but has no authority over
        5    activities that do not constitute the practice of dentistry or dental hygiene,
        6    or individuals (or organizations) that do not practice dentistry or dental
        7    hygiene (such as SmileDirect). California law does not identify non-clinical
        8    support services as the practice of dentistry.
        9            9.    In the past, California dentists have generated substantial fees
       10    from providing their dental and orthodontic treatments using a traditional
       11    in-office treatment model. The direct-to-consumer model supported by
       12    SmileDirect represents a serious competitive threat to their ability to
       13    continue to generate such fees through their traditional delivery model in
       14    the future. The Members of the Board therefore have undertaken an
       15    aggressive, anti-competitive campaign against SmileDirect, its Affiliated
       16    Dental Practices, and their direct-to-consumer model.
       17            10.   This campaign has included, among other things, having one of
       18    its investigators (Tippins) (a) conduct a series of coordinated raids on
       19    SMILESHOP stores around California (by using teams of Enforcement Unit
       20    personnel to invade the SMILESHOP stores); (b) intentionally harass
       21    Sulitzer P.C. employees and consumers on a SmileBus (which occurred
       22    days after Tippins officially closed an investigation involving an Affiliated
       23    Dental Practice, as there was no evidence supporting any violations of
       24    California law); and (c) serve a series of unwarranted information requests
       25    on SmileDirect designed to intimidate, harass, and unduly burden
       26    SmileDirect, Sulitzer P.C., and Dr. Sulitzer.
       27

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        1            11.   When SmileDirect and Dr. Sulitzer complained to the State and
        2    the Board, the Members of the Board ignored their complaints and did
        3    nothing to restrain its investigator’s ongoing misconduct. Tippins’ actions,
        4    and the Board’s and its Members’ knowledge of those actions and
        5    intentional failure to act in response to SmileDirect’s and Dr. Sulitzer’s
        6    complaints, represents a de facto assertion of regulatory authority over the
        7    activities undertaken at the SMILESHOP stores and on the SmileBuses,
        8    even though no practice of dentistry occurs at those locations.
        9            12.   The Board, its Members, and Tippins have undertaken this
       10    campaign in an effort to squelch the competitive threat posed by the
       11    business model supported by SmileDirect, and not to protect any
       12    legitimate concern about the public health, welfare, and safety of
       13    consumers. This campaign instead benefits the interests of Members of
       14    the Board who are participants in the orthodontia market (including clear
       15    aligner therapy) because the campaign seeks to eliminate competitive
       16    threats to private dental and orthodontic organizations to which those
       17    Members belong.
       18            13.   The Board, its Members, and Tippins engaged in this campaign
       19    of harassment, intimidation, and anti-competitive conduct without active,
       20    substantive supervision or oversight by the California Legislature,
       21    Governor’s Office, Department of Consumer Affairs, or the Business,
       22    Consumer Services, and Housing Agency.
       23            14.   Dr. Sulitzer, Sulitzer P.C., and SmileDirect therefore bring this
       24    action against the Members of the Board and its investigator Tippins:
       25               a. To enjoin them from abusing their power and authority of their
       26                  offices of public trust as a means to harass and to seek to
       27                  intimidate SmileDirect and its Affiliated Dental Practices,
       28                                                 7
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        1                  including Dr. Sulitzer and Sulitzer P.C. (and their respective
        2                  employees and customers); and
        3               b. To recover damages from the Members of the Board and
        4                  Tippins, in their individual capacities, for the economic
        5                  damages they have inflicted and will continue to inflict on Dr.
        6                  Sulitzer, Sulitzer P.C., and SmileDirect.
        7                                        THE PARTIES
        8            15.   Plaintiff Dr. Sulitzer has been a licensed dentist in California
        9    since October 2003 (License No. 51841). Dr. Sulitzer practices dentistry in
       10    the State. Dr. Sulitzer resides in Happy Valley, Oregon. He owns one
       11    hundred percent of shares of Sulitzer P.C.
       12            16.   Plaintiff Sulitzer P.C. is a duly registered California professional
       13    corporation (Corporation No. C4079522). Sulitzer P.C. leases SMILESHOP
       14    stores in California. Sulitzer P.C. also owns a SmileBus, and it employs
       15    technicians for the SmileBus as well as at its SMILESHOP stores.
       16            17.   Plaintiff SmileDirect is a Tennessee limited liability company
       17    with its corporate headquarters in Nashville, Tennessee. SmileDirect is
       18    duly registered and authorized to conduct business in California (Entity
       19    No. 201709810114). SmileDirect contracts with Sulitzer P.C. to provide
       20    various non-clinical, administrative DSO Services.
       21            18.   Defendant Joseph Tippins works as an Investigator in the
       22    Board’s Enforcement Unit. On information and belief, he resides in Placer
       23    County, California.
       24            19.   Defendant Karen M. Fischer, M.P.A., serves as the Executive
       25    Director of the Board. The Board is an entity authorized by and constituted
       26    under the California Dental Practice Act (Cal. Bus. & Prof. Code § 1600, et
       27

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        1    seq.). On information and belief, she resides in Sacramento County,
        2    California.
        3            20.   Defendant Fran Burton, M.S.W., serves as President of the
        4    Board. On information and belief, she resides in Sacramento County,
        5    California.
        6            21.   Defendant Steven Morrow, D.D.S., M.S., serves as Vice
        7    President of the Board. On information and belief, he resides and practices
        8    dentistry in Los Angeles County, California. On information and belief,
        9    Morrow is a Life Member of the American Dental Association (“ADA”) and
       10    the American Association of Endodontists (“AAE”), and a member of the
       11    California State Association of Endodontists, Tri-County Dental Society,
       12    Southern California Academy of Endodontics, and the American Dental
       13    Education Association.
       14            22.   Defendant Steven Chan, D.D.S., serves as Secretary of the
       15    Board. On information and belief, he resides and practices dentistry in
       16    Alameda County, California. On information and belief, Chan is a member
       17    of the ADA, past President of the California Dental Association (“CDA”),
       18    has served as vice chair on five of CDA’s for-profit subsidiary companies,
       19    and is a member of its political action committee.
       20            23.   Defendant Yvette Chappell-Ingram, M.P.A., serves as a member
       21    of the Board. On information and belief, she resides in Alameda County,
       22    California.
       23            24.   Defendant Ross Lai, D.D.S., serves as a member of the Board.
       24    On information and belief, he resides and practices dentistry in Alameda
       25    County, California. On information and belief, he is a member of the ADA.
       26            25.   Defendant Lilian Larin, D.D.S., serves as a member of the
       27    Board. On information and belief, she resides and practices dentistry in
       28                                                 9
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        1    San Diego County, California. On information and belief, Larin is a
        2    member of the ADA, Past President of the National Hispanic Dental
        3    Association and the American Association of Women Dentists, and she is
        4    a board member of the San Diego County Dental Association.
        5              26.   Defendant Huong Le, D.D.S., M.A., serves as a member of the
        6    Board. On information and belief, she resides and practices dentistry in
        7    Oakland County, California. On information and belief, Le is a member of
        8    the ADA, CDA, and is a board member of the Alameda County Dental
        9    Society.
       10              27.   Defendant Meredith McKenzie, Esq., serves as a member of the
       11    Board. On information and belief, she resides in Santa Clara County,
       12    California.
       13              28.   Defendant Abigail Medina serves as a member of the Board. On
       14    information and belief, she resides in San Bernardino County, California.
       15              29.   Defendant Rosalinda Olague, RDA, B.A., serves as a member of
       16    the Board. On information and belief, she resides and works as a dental
       17    assistant in Los Angeles County, California.
       18              30.   Defendant Joanne Pacheco, RDH, M.A.O.B., serves as a
       19    member of the Board. On information and belief, she resides and works as
       20    a dental hygienist in Fresno County, California. On information and belief,
       21    Pacheco is a member of the American Dental Hygienists’ Association,
       22    American Dental Educator’s Association, and the California Dental
       23    Hygienists’ Association.
       24              31.   Defendant Thomas Stewart, D.D.S., serves as a member of the
       25    Board. On information and belief, he resides and practices dentistry in
       26    Kern County, California. On information and belief, Stewart is a member
       27    of the ADA, served as President of the CDA in 2010, Vice Chair of the CDA
       28                                                  10
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        1    Holding Company’s board of directors, and Chair of the CDA delegation to
        2    the ADA.
        3              32.   Defendant Bruce L. Whitcher, D.D.S., serves as a member of the
        4    Board. On information and belief, he resides and practices dentistry in
        5    San Luis Obispo County, California. On information and belief, Whitcher
        6    is a member of the ADA, Central Coast Dental Society and the CDA.
        7              33.   Defendant James Yu, D.D.S., M.S., serves as a member of the
        8    Board. On information and belief, he resides and practices dentistry in
        9    San Francisco County, California. On information and belief, Yu is a
       10    member of the ADA and San Francisco Dental Society.
       11              34.   Dr. Sulitzer, Sulitzer P.C., and SmileDirect sue Fischer, Burton,
       12    Morrow, Chan, Chappell-Ingram, Lai, Larin, Le, McKenzie, Medina,
       13    Olague, Pacheco, Stewart, Whitcher, and Yu in their individual and official
       14    capacities as Executive Director, officers, and Members of the Board
       15    (collectively, “Members”).
       16              35.   Dr. Sulitzer, Sulitzer P.C., and SmileDirect name Does 1
       17    through 10 at present as fictitious defendants (“Doe Defendants”). Dr.
       18    Sulitzer, Sulitzer P.C., and SmileDirect are presently ignorant and
       19    unaware of the true names and identities of these Doe Defendants, and
       20    therefore sue such unknown Doe Defendants by fictitious names. Dr.
       21    Sulitzer, Sulitzer P.C., and SmileDirect are informed and believe that each
       22    such fictitious Doe Defendant is in some manner responsible for,
       23    participated in, or contributed to the matters and things of which they
       24    complain, and each fictitious Doe Defendant has legal responsibilities for
       25    those matters and things. These Doe Defendants may include other
       26    employees of the Board; employees of the Board’s Enforcement Unit; or
       27    other persons acting at the direction of, or in concert with, the Board or
       28                                                  11
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        1    its Members. When Dr. Sulitzer, Sulitzer P.C., and SmileDirect ascertain
        2    the exact nature and identity of each such fictitious Doe Defendant, they
        3    will amend this Complaint. Merritt v. County of Los Angeles, 875 F.2d 765,
        4    768 (9th Cir. 1989) (“Doe” pleading in Federal Question cases); Anderson
        5    v. Allstate Ins. Co., 630 F.2d 677, 683 (9th Cir. 1980) (“Doe” pleading
        6    requirements track those of California); Cal. Code Civ. Proc. § 474.
        7              36.   On information and belief, the Board and its Members, the Doe
        8    Defendants, and each of them, were or are the owners, agents, members,
        9    employees,         employers,      officers,   directors,    managers,      partners,
       10    representatives, predecessors, successors, transferees, licensees, assigns,
       11    or servants of each of the other defendants named herein, and at all
       12    relevant times alleged were acting within the course and scope of that
       13    relationship, agency, or employment, with full notice, consent, and
       14    ratification of the acts or omissions of each of the other defendants.
       15                                JURISDICTION AND VENUE
       16              37.   This Court has subject matter jurisdiction over Count I
       17    pursuant to 28 U.S.C. §§ 1331 and 1337 (Federal Question and Antitrust),
       18    because this claim arises under the laws of the United States, including
       19    the Federal Sherman Antitrust Act (15 U.S.C. § 1, et seq.).
       20              38.   This Court has subject matter jurisdiction over Count II – IV
       21    pursuant to 28 U.S.C. §§ 1331 and 1343 (Federal Question and Civil
       22    Rights), because these claims arise under the Constitution and laws of the
       23    United States, including violations of the Dormant Commerce Clause,
       24    Equal Protection Clause, and Substantive Due Process brought pursuant
       25    to 42 U.S.C. § 1983.
       26              39.   This Court has supplemental jurisdiction over Count V
       27    pursuant to 28 U.S.C. § 1367 (Supplemental Jurisdiction), because this
       28                                                  12
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        1    state-law claim arises out of the same transaction or occurrence as, and
        2    has a common nucleus of operative facts with, the claims over which this
        3    Court independently exercises jurisdiction.
        4              40.   This Court has general personal jurisdiction over Tippins and
        5    the Members, because, upon information and belief, each of them resides
        6    in California, subjecting each individual defendant to the general personal
        7    jurisdiction of California courts, including this Court. Milliken v.
        8    Meyer (1940) 311 U.S. 457, 462 – 63.
        9              41.   Venue is proper in this Judicial District pursuant to 28 U.S.C.
       10    § 1391(b)(1), because the Members are all residents of California, and
       11    Medina, Olague, and Whitcher are residents of this Judicial District.
       12                                  FACTUAL BACKGROUND
       13    I.        SmileDirect’s Revolutionary Tele-Dentistry Platform
       14              42.   SmileDirect has revolutionized the way in which dental care is
       15    administered in the United States with its unique tele-dentistry platform
       16    called SmileCheck—a proprietary system that remotely connects patients
       17    with state-licensed Treating Doctors through a web-based portal. Affiliated
       18    Dental Practices contracting with SmileDirect for its DSO Services use
       19    SmileCheck to view photographs of a patient’s mouth, review a patient’s
       20    medical and dental histories and chief complaint that the patient wants
       21    corrected with alignment, review and develop treatment plans, request and
       22    review additional information from the patient, if necessary or advisable
       23    as determined by the Treating Doctor, prescribe treatment if appropriate,
       24    track the performance of the treatment through completion, and document
       25    communication with a patient.
       26              43.   SmileDirect helps Treating Doctors provide affordable care to
       27    populations underserved by traditional dentists and orthodontists
       28                                                  13
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        1    operating in brick-and-mortar offices. By leveraging proprietary, cutting-
        2    edge technology, and providing non-clinical DSO Services, Treating
        3    Doctors can use the SmileCheck tele-dentistry platform to provide care to
        4    patients who could not otherwise afford or have access to clear-aligner
        5    therapy.
        6              A.    Lack of Access to Orthodontic Treatment
        7              44.   SmileDirect has developed a solution to one of the most
        8    significant challenges in dental care. Prior to SmileDirect’s development of
        9    SmileCheck, only one percent of the global population received orthodontic
       10    treatment each year, yet nearly 85 percent of the global population could
       11    benefit from it.
       12              45.   Patient access to orthodontists has been one of the largest
       13    problems         in    expanding      availability    of     orthodontic   treatment.
       14    Approximately 60 percent of counties in the United States do not have an
       15    orthodontist office. Patients with mild or moderate malocclusion cannot
       16    obtain the treatment they need without traveling great distances to find a
       17    licensed professional, only to repeat that lengthy journey for treatment and
       18    check-ins at a brick-and-mortar office.
       19              46.   Cost is another significant impediment to patients receiving
       20    orthodontic treatment. The average cost of orthodontic treatment for
       21    patients with mild or moderate malocclusion in a brick-and-mortar office
       22    is approximately $5,000 to $8,000. That price tag is simply too much for
       23    many consumers, even those who would benefit greatly from treatment of
       24    their mild-to-moderate malocclusion. As a result, these consumers do not
       25    receive any treatment whatsoever.
       26     ///
       27     ///
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        1              B.     Solving the Problem by Connecting Treating Doctors
        2                     with Patients
        3              47.    SmileDirect has helped solve the problem of access and cost by
        4    developing SmileCheck, a web-based platform which allows Treating
        5    Doctors to diagnose, evaluate, and treat patients remotely with clear
        6    aligner therapy for mild to moderate malocclusion. As a result, clear
        7    aligner         treatment   through     SmileDirect’s        platform   costs    $1895.
        8    SmileDirect’s model changed the way that Treating Doctors can interact
        9    with their patients and made treatment for mild and moderate
       10    malocclusion available to millions who were previously untreated,
       11    including tens of thousands of customers in California who have already
       12    used the SDC tele-dentistry platform to achieve a smile they love.
       13    SmileDirect’s model also provides more convenient and affordable options
       14    to consumers who otherwise may have sought orthodontic treatment
       15    through traditional delivery channels.
       16                     1.   Step One: Patients Contact SmileDirect
       17              48.    Consumers start their clear-aligner therapy process in one of
       18    two ways. A consumer can visit SmileDirect’s website and order an
       19    impression kit. Pursuant to a prescription from a state-licensed Treating
       20    Doctor at an Affiliated Dental Practice, an impression kit is then sent to
       21    the consumer. In addition, the consumer is required to complete medical
       22    and dental history forms, provide a chief complaint, and upload traditional
       23    photographs of the teeth and gums so that the Treating Doctor—who is
       24    licensed in the consumer’s state, and who, through the Affiliated Dental
       25    Practice, has engaged SmileDirect to utilize SmileDirect’s DSO Services,
       26    including the SmileCheck platform—has the initial information necessary
       27    to make his or her clinical evaluation. Once the consumer completes the
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        1    impression kit, the consumer returns it to a dental lab to be reviewed by
        2    highly trained lab technicians and transformed into a 3D image of the
        3    teeth and gums for subsequent review by the Treating Doctor.
        4              49.   Alternatively, consumers can start the process by visiting one
        5    of SmileDirect’s or the Affiliated Dental Practice’s SMILESHOP stores, or a
        6    SmileBus, to have traditional and sophisticated photos taken of the teeth
        7    and gums. In California, the employees of SMILESHOP stores and the
        8    SmileBus are employed by Sulitzer P.C. At the SMILESHOP stores and
        9    onboard a SmileBus, consumers have both traditional photos taken of
       10    their teeth and gums with digital cameras, as well as a series of photos
       11    using a sophisticated camera (called an iTero) that takes up to 6,000
       12    frames per second. The photos taken using the sophisticated camera are
       13    stored digitally and then fed into a computer program that generates a 3D
       14    image of the consumer’s teeth and gums. At the SMILESHOP stores and
       15    on a SmileBus, consumers can also complete their dental and health
       16    histories and identify their chief complaint, all of which are uploaded into
       17    SmileCheck for review by the Treating Doctor.
       18                    2.   Step Two: Creation of a Draft Treatment Plan
       19              50.   The 3D image, and the photos from which the 3D image was
       20    created, are sent to highly trained lab technicians at a dental lab, along
       21    with the other relevant information collected from the consumer, to create
       22    a draft treatment plan using sophisticated and proprietary software. These
       23    draft treatment plans undergo a quality assurance check by licensed
       24    dentists and orthodontists who are on staff at the dental lab, which
       25    provides an additional layer of quality assurance and consumer protection
       26    that other dental labs do not offer. Once the draft treatment plan is
       27

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        1    complete, it is uploaded into SmileCheck for review by the Treating Doctor,
        2    along with all of the other information collected from the consumer.
        3                    3.   Step    Three:    Dentists     or       Orthodontists   Evaluate
        4                         Patients
        5              51.   After receiving information from consumers, SmileDirect loads
        6    that information onto the SmileCheck system so that the Treating Doctor,
        7    licensed to practice in the state of the consumer, can review it. The
        8    Treating Doctor has the ability, at all times, to request additional
        9    information if necessary or desirable (including but not limited to an x-ray
       10    or periodontal clearance). With this information, the Treating Doctor
       11    determines (a) whether the consumer has mild-to-moderate malocclusion;
       12    (b) if so, whether the consumer can be treated with clear-aligner therapy;
       13    and, (c) if so, whether the consumer is a candidate for the clear-aligner
       14    therapy utilizing remote tele-dentistry, which is directed by the Treating
       15    Doctor.
       16              52.   If the Treating Doctor determines, in his or her independent
       17    professional judgment, that the answer to each of the above inquiries is
       18    “yes,” then the Treating Doctor reviews and modifies, if necessary, the draft
       19    treatment plan. Once the treatment plan is finalized and approved by the
       20    Treating Doctor, the consumer is provided with a detailed explanation of
       21    the treatment plan, including 3D images depicting anticipated teeth
       22    movement. If the consumer elects to move forward with the treatment, the
       23    Treating Doctor submits a prescription for manufacturing of the aligners.
       24    SmileDirect then fulfills the prescription by arranging for the manufacture
       25    and shipment of the aligners from an FDA-approved and licensed
       26    manufacturing facility.
       27

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        1              53.   None of the Affiliated Dental Practices or Treating Doctors are
        2    under any obligation (1) to prescribe treatment for customers who have
        3    been connected to them through SmileCheck; (2) to use SmileDirect’s tele-
        4    dentistry platform; or (3) to use the clear aligners that SmileDirect can
        5    source for them.
        6                    4.    Step Four: Patient Treatment Prescribed by the
        7                          Treating Doctor
        8              54.   The consumer then receives the number of aligners prescribed
        9    by the Treating Doctor as well as detailed instructions on use and care.
       10    The consumer uses SmileCheck to consult with the Treating Doctor when
       11    the consumer begins treatment to ensure the proper fitting of the aligners.
       12    The consumer continues to use SmileCheck for periodic treatment check-
       13    ins at least every 90 days (or more if requested or desired by the Treating
       14    Doctor or the patient). Following the use of all aligners, the Treating Doctor
       15    reviews the patient’s progress and determines whether treatment is
       16    complete.
       17              55.   SmileDirect does not engage in the practice of dentistry; that is
       18    the province of the Treating Doctors exercising their independent,
       19    professional judgment. Instead, SmileDirect provides the non-clinical DSO
       20    Services, including its innovative delivery channel to connect Treating
       21    Doctors with their patients.
       22              56.   The Treating Doctor maintains sole responsibility for all aspects
       23    of the patient’s care as directed by the Treating Doctor’s independent,
       24    professional         judgment,    including    conducting     evaluations,       making
       25    diagnoses, and if appropriate, prescribing and monitoring clear-aligner
       26    therapy treatment for the patient’s condition.
       27    ///
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        1              C.    SmileDirect Disrupts the Dental Industry
        2              57.   SmileDirect’s rapid growth since its founding in 2014 validates
        3    its value proposition to many consumers and its compelling tele-dentistry
        4    model. For example, on a global scale, SmileDirect and its Affiliated Dental
        5    Practices have helped over 750,000 consumers achieve a smile they love,
        6    and together with its Affiliated Dental Practices has opened over 300
        7    SMILESHOP stores.
        8              58.   On a national scale, SmileDirect and its Affiliated Dental
        9    Practices have collected information, including traditional and iTero
       10    photographs, from hundreds of thousands of individuals without any
       11    incident or complaint of physical injury, infection, or other adverse patient
       12    outcome associated with the collection of information and taking of
       13    photographs.
       14              59.   SmileDirect started doing business in California in March 2017,
       15    and since that time SmileDirect and its Affiliated Dental Practices—
       16    through         at-home    impression     kits,   or   at    SMILESHOP     stores   or
       17    SmileBuses—have collected information, including taking traditional and
       18    iTero photographs, from over 100,000 consumers in California (without a
       19    single incident or complaint arising from collecting the information and
       20    taking the photographs). Of those, tens of thousands of Californians have
       21    been approved for, prescribed, and ordered clear aligner therapy
       22    treatment. SmileDirect has generated millions of dollars in revenue from
       23    its California operations.
       24              60.   Many in the public and dental communities have embraced
       25    SmileDirect’s entry into the market, enabling access to top-notch, low-cost
       26    clear-aligner therapy. By remotely connecting state-licensed Treating
       27    Doctors with consumers through SmileDirect’s SmileCheck platform, in
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        1    combination         with   the   other    DSO    Services    SmileDirect    provides,
        2    SmileDirect has drastically reduced the cost of clear-aligner treatment and
        3    increased access for many unreached segments of the population, all while
        4    ensuring that consumers receive treatment from, and are closely
        5    monitored by, state-licensed Treating Doctors with at least four years of
        6    experience providing clear-aligner therapy in traditional brick-and-mortar
        7    offices. Indeed, over 90% of the Treating Doctors affiliated with SmileDirect
        8    maintain their traditional offices in addition to providing treatment to
        9    patients using SmileDirect’s tele-dentistry platform.
       10              61.   In the end, the clinical care that consumers receive through
       11    SmileCheck is directed, evaluated, prescribed and monitored by Treating
       12    Doctors. The clinical treatment that consumers receive from SmileDirect’s
       13    contractually affiliated Treating Doctors using SmileCheck is more
       14    affordable, accessible, and efficient than traditional methods of in-office
       15    orthodontic treatment.
       16              62.   At the same time, SmileDirect’s innovative SmileCheck platform
       17    is also disruptive to the traditional models of orthodontic delivery and
       18    threatens the dental professionals who provide traditional orthodontia.
       19    The “affordable” and “accessible” tenets of SmileDirect’s model challenge
       20    the business interests entrenched in the more traditional and more costly
       21    orthodontic-delivery models.
       22    II.       The Board Only Has Authority to Regulate the Practice of
       23              Dentistry and Not the Services Provided in the SMILESHOP
       24              Stores, on the SmileBus, or by SmileDirect
       25              63.   The Board, acting through its Members, regulates and enforces
       26    the standards of the practice of dentistry in California, and regulates and
       27    enforces the standards governing those who practice dentistry in the State.
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        1    Under the California Dental Practice Act (“Act”) (Cal. Bus. & Prof. Code §
        2    1600, et seq.), the Board must:
        3              A.    “carry out the purposes and enforce the provisions of [the
        4                    Act]”;
        5              B.    “examine all applicants for a license or permit to practice
        6                    dentistry and dental assisting”;
        7              C.    “issue licenses and permits to practice dentistry and
        8                    dental assisting in this state to such applicants as
        9                    successfully pass all applicable licensing and permitting
       10                    examinations administered by the Board, or any regional
       11                    or national testing entity designated to administer
       12                    licensing or permitting examinations”; and
       13              D.    “collect and apply all fees.” Id., at § 1611.
       14              64.   The Board’s authority is limited to the practice of dentistry. The
       15    Act makes it unlawful for any person to engage in the practice of dentistry
       16    in California without a valid, unexpired license, or special permit from the
       17    Board. Id. at § 1625. The Act defines the practice of dentistry as:
       18                    the diagnosis or treatment, by surgery or other
                             method, of diseases and lesions and the correction of
       19                    malpositions of the human teeth, alveolar process,
                             gums, jaws, or associated structures; and such
       20                    diagnosis or treatment may include all necessary
                             related procedures as well as the use of drugs,
       21                    anesthetic agents, and physical evaluation. Without
                             limiting the foregoing, a person practices dentistry
       22                    within the meaning of this chapter who does any one
                             or more of the following:
       23
                             (a)   By card, circular, pamphlet, newspaper or in
       24                          any other way advertises himself or represents
                                   himself to be a dentist.
       25
                             (b)   Performs, or offers to perform, an operation or
       26                          diagnosis of any kind, or treats diseases or
                                   lesions of the human teeth, alveolar process,
       27                          gums, jaws, or associated structures, or
                                   corrects malposed positions thereof.
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        1
                             (c)   In any way indicates that he will perform by
        2                          himself or his agents or servants any operation
                                   upon the human teeth, alveolar process, gums,
        3                          jaws, or associated structures, or in any way
                                   indicates that he will construct, alter, repair, or
        4                          sell any bridge, crown, denture or other
                                   prosthetic appliance or orthodontic appliance.
        5
                             (d)   Makes, or offers to make, an examination of,
        6                          with the intent to perform or cause to be
                                   performed any operation on the human teeth,
        7                          alveolar process, gums, jaws, or associated
                                   structures.
        8
                             (e)   Manages or conducts as manager, proprietor,
        9                          conductor, lessor, or otherwise, a place where
                                   dental operations are performed. Id. at § 1625.
       10
                       65.   The Act further regulates (1) any “mobile dental unit,” which is
       11
             a “self-contained facility, which may include a trailer or van, in which
       12
             dentistry is practiced that may be moved, towed, or transported from one
       13
             location to another”; and (2) any “portable dental unit,” which is a “self-
       14
             contained unit housing equipment used for providing dental treatment
       15
             that is transported to, and used on a temporary basis at, non-dental office
       16
             locations.” Id. at § 1657(a)(1) – (2).
       17
                       66.   The Act contains no regulations pertaining to DSOs (like
       18
             SmileDirect) and the non-clinical support services they provide. Under the
       19
             Act the Board and its Members have no authority over SmileDirect because
       20
             it provides only non-clinical support services to Affiliated Dental Practices
       21
             and Treating Doctors. The Board and its Members also have no authority
       22
             over the activities in SMILESHOP stores, or the activities on a SmileBus,
       23
             because the activities do not constitute the practice of dentistry, as defined
       24
             in the Act.
       25
                       67.   The SMILESHOP and SmileBus employees do not examine,
       26
             evaluate, diagnose, operate, monitor, direct, prescribe, or otherwise treat
       27
             any consumer. The employees provide only a subset of non-clinical
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        1    support services to Affiliated Dental Practices and Treating Doctors. As a
        2    result, the SmileBus does not qualify as a “mobile dental unit” or “portable
        3    dental unit” regulated under the Act.
        4              68.   The Board has not undertaken any rulemaking to expand the
        5    definition of the “practice of dentistry” to include the non-clinical support
        6    services provided by DSOs like SmileDirect, or by the employees in
        7    SMILESHOP stores or SmileBuses who do not perform any clinical
        8    services. Even if the Board and its Members had undertaken such
        9    rulemaking, that rulemaking would be invalid under the Act and other
       10    state and federal laws.
       11    III.      Harassment of SmileDirect, Sulitzer P.C., and Dr. Sulitzer
       12              69.   Although the Board lacks any authority to regulate SmileDirect
       13    or the services in SMILESHOP stores and on the SmileBuses, the Members
       14    have sought to use the Board’s regulatory weapons in a no-holds-barred
       15    attack against SmileDirect’s new tele-dentistry model in a misguided
       16    attempt to protect traditional local, brick-and-mortar dental practices from
       17    competition (such as where 11 of the 15 Members on the Board practice
       18    dentistry or provide other dental-related services).
       19              70.   Under the authority of the Board, one of the investigators in the
       20    Board’s Enforcement Unit—Tippins—has undertaken a continuing course
       21    of conduct designed to harass and intimidate SmileDirect and its Affiliated
       22    Dental Practices in order to squelch the competition they pose to the more
       23    costly clear aligner therapy that dentists and orthodontists prescribe in
       24    their traditional brick-and-mortar offices.
       25              71.   The Board and Tippins began this increasingly harassing
       26    campaign in late 2017. On information and belief, Tippins and one or
       27    more other investigators first posed as customers in SmileShop stores.
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        1    Then on December 8, 2017, Tippins requested information from
        2    SmileDirect based on an alleged “active investigation” into SmileDirect.
        3    SmileDirect responded to Tippins’ requests in late December 2017. Tippins
        4    then requested more information in early March 2018, this time seeking
        5    information related to a specific dentist affiliated with SmileDirect. Less
        6    than two weeks later, SmileDirect responded, confirming that the dentist
        7    was not an employee of SmileDirect. Tippins thereafter changed course
        8    and began sending requests for patient records in late March 2018.
        9    SmileDirect, the Treating Doctors, and Affiliated Dental Practices
       10    answered each request, with no findings of wrongdoing by the state.
       11    Tippins—on information and belief, with the Board and Board Members’
       12    knowledge, agreement, and acquiescence, if not approval—then escalated
       13    the harassment against SmileDirect, the Treating Doctors, and Affiliated
       14    Dental Practices.
       15              A.    State-wide Raid of SMILESHOP Stores
       16              72.   On May 31, 2018, the Board, Members of the Board, and
       17    Tippins coordinated an unannounced, simultaneous state-wide raid of
       18    SMILESHOP stores in Oakland, San Francisco, and Hollywood, California.
       19    Even though the Board lacked any regulatory authority over the non-
       20    clinical services provided by SmileDirect, the Board’s enforcement teams
       21    descended on these SMILESHOP stores on the same day to question
       22    SMILESHOP store employees and to demand information and files at the
       23    locations, which occurred during hours of regular operation, no doubt so
       24    as to cause the most amount of interference and disruption.
       25              73.   The SMILESHOP store employees who witnessed the raids were
       26    frightened and intimidated by the Board’s enforcement teams undertaking
       27    the raids. The teams subjected employees to aggressive behavior, including
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        1    unreasonable demands for information and documents, as well as threats
        2    of initiating an “investigation” of SmileDirect by the Board—contradicting
        3    Tippins’ prior claims of an existing investigation.
        4              74.   Consumers      at      the    SMILESHOP         stores   were   likewise
        5    intimidated, and some of the consumers fled the stores, on information
        6    and belief, as a result of the Board raids. As a result, the raids seriously
        7    harmed SmileDirect’s business, revenue, goodwill, employee relations, and
        8    reputation in the marketplace.
        9              75.   The Board lacked any legitimate basis for the raids. Neither the
       10    Board, its Members, nor its Enforcement Unit (including Tippins) issued
       11    even a single finding of wrongdoing with respect to any of the SMILESHOP
       12    stores or any conduct by SmileDirect or its Affiliated Dental Practices.
       13              76.   Dr. Sulitzer, Sulitzer P.C., and SmileDirect requested a meeting
       14    with the Board and demanded the basis for the raids targeting
       15    SMILESHOP stores. Instead of engaging in dialogue, the Board and its
       16    Members refused to meet with Dr. Sulitzer, Sulitzer P.C., and SmileDirect,
       17    vaguely citing an unresolved “pending matter.” SmileDirect and its lawyers
       18    offered to meet with the Board and Tippins to discuss the nature of any
       19    purported pending matters, but Tippins and the Members ignored these
       20    requests.
       21              77.   Neither the Board nor any of the Members responded to
       22    SmileDirect’s objections to the continued campaign against SmileDirect
       23    and its Affiliated Dental Practices; nor, on information and belief, did they
       24    otherwise take any actions to investigate the misconduct, to reprimand or
       25    punish those involved, or to prevent similar misconduct in the future.
       26              78.   On the contrary, after the raids, Tippins continued to contact
       27    SMILESHOP stores directly. In an effort to protect the SMILESHOP
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        1    employees from repeated harassment, lawyers retained by SmileDirect
        2    repeatedly informed Tippins to direct all communications to them rather
        3    than to store employees in 2018 and early 2019.
        4              B.    The Board Continues To Target Affiliated Dental
        5                    Practices
        6              79.   After the raids, the Board, its Members, and Tippins shifted
        7    their harassment campaign from SmileDirect itself to its Affiliated Dental
        8    Practices. Tippins began sending repeated—sometimes daily—demands
        9    for records from SmileDirect’s Affiliated Dental Practices, including Dr.
       10    Sulitzer and Sulitzer P.C. These efforts were intended to harass and
       11    intimidate those Affiliated Dental Practices and Treating Doctors who
       12    contracted with SmileDirect by subjecting them to the time, expense,
       13    distraction and embarrassment of ongoing “investigations” into violations
       14    of the Act.
       15              80.   As with the raids, these “investigations” were entirely meritless.
       16    None of the Board’s repeated fishing expeditions have turned up a single
       17    violation of the Act.
       18              81.   In fact, as recently as June 20, 2019, the Board, through
       19    Tippins, closed an “investigation” against a Treating Doctor and his
       20    Affiliated Dental Practice, finding “no evidence of a violation of the Dental
       21    Practice Act to substantiate filing formal charges . . . .”
       22              C.    Tippins Invades a SmileBus
       23              82.   Despite having just formally closed its investigation days earlier,
       24    the Board, its Members, and Tippins continued their targeted campaign
       25    against SmileDirect and its Affiliated Dental Practices, this time focusing
       26    on a SmileBus owned by Sulitzer P.C.
       27

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        1              83.   The Board and Tippins lacked any authority to enter the
        2    SmileBus, given that neither SmileDirect nor the employees on the bus
        3    provided or advertised any dental services on the SmileBus.
        4              84.   Nonetheless, on July 1, 2019, the SmileBus was legally parked
        5    at the Sacramento Arden Fair with consumers visiting the SmileBus for
        6    pre-booked appointments. Between 9:30 and 10:00 a.m., without any
        7    prior warning, Tippins entered the SmileBus without permission,
        8    authorization, a search warrant or any other legal process permitting him
        9    to do so. Upon information and belief, another investigator accompanied
       10    Tippins on the SmileBus.
       11              85.   Tippins entered the SmileBus, flashed his “Dental Board
       12    Investigator” badge to the female manager, and demanded to know who
       13    was in charge. At the time, consumers were waiting on board the SmileBus
       14    and undergoing appointments to have their teeth photographed. One
       15    alarmed consumer asked why the “police” were there. Tippins did not
       16    make any effort to correct the consumer. He instead told the consumer
       17    that there was a complaint against SmileDirect, that an active
       18    investigation by the Board existed, and that his inspection was “routine.”
       19              86.   This behavior was hardly “routine.” Tippins treated the female
       20    SmileBus manager in a rude, intimidating, and harassing manner, in front
       21    of the consumers on the SmileBus:
       22              A.    Tippins yelled at and interrogated the SmileBus manager,
       23                    asking her for whom she worked and who owned the
       24                    SmileBus. When the manager truthfully responded that
       25                    Sulitzer P.C. owned the SmileBus and employed her,
       26                    Tippins accused the manager of lying.
       27

       28                                                  27
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        1              B.    Tippins made false statements that the marketing
        2                    materials on the SmileBus were misleading and wrong.
        3              C.    Tippins demanded to inspect the entire SmileBus.
        4              D.    Tippins asked the manager if she was a Registered Dental
        5                    Assistant. The manager replied that she was not, but that
        6                    certain employees on the bus were Registered Dental
        7                    Assistants.     Tippins   yelled   orders     at   the   manager,
        8                    demanding “proof” and “credentials” supporting this
        9                    statement, but then Tippins refused to let the manager
       10                    retrieve the documentation from her computer.
       11              E.    Because the employees on the SmileBus were not engaging
       12                    in the practice of dentistry, the SmileBus was not required
       13                    to have any mobile dentistry certification or registration.
       14                    Yet, Tippins ordered the SmileBus manager to produce a
       15                    mobile dentistry document or certification. Tippins,
       16                    however, then prohibited the SmileBus manager from
       17                    contacting Dr. Sulitzer at her employer, Sulitzer P.C., to
       18                    obtain guidance on the request. Tippins demanded she
       19                    hang up the phone when she tried to call him.
       20              F.    Tippins continued to yell loudly at the manager and
       21                    accused her of the illegal practice of dentistry, claiming
       22                    that merely photographing teeth constituted the practice
       23                    of dentistry.
       24              87.   Despite Tippins’ bullying behavior, the manager attempted to
       25    answer his questions and demands. Then, as abruptly as he had arrived,
       26    Tippins left, claiming that there was nothing she could do and that he
       27    would “be following up later.”
       28                                                   28
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        1              D.    SmileDirect Demands that the Board Investigate
        2                    Tippins to No Avail
        3              88.   That same day, after learning of the improper and unauthorized
        4    raid, SmileDirect’s lawyers sent a letter to Fischer, the Board’s Executive
        5    Director, outlining the Board’s and Tippins’ unlawful harassment and
        6    demanding Tippins cease his harassing behavior.
        7              89.   The Board and Tippins did nothing to abate the campaign of
        8    targeted        harassment,    but    instead    reinvigorated   their   efforts.   On
        9    September 16 through 27, 2019, the Board and Tippins issued at least six
       10    letters to various Affiliated Dental Practices and SmileDirect. Each letter
       11    requested patient dental records, including all photo diagnostic x-rays,
       12    photos, 3D “scans,” models, and the entire dental chart; exam results;
       13    additional treatment plan and estimates; billing records; payment records;
       14    medical history; signed consent forms; and insurance authorizations. The
       15    Board and Tippins made these demands under threats of fines for non-
       16    compliance.
       17              90.   The letters also included an authorization form purportedly
       18    signed by each patient approving the release of the records to Tippins,
       19    evidencing that Tippins has been directly communicating with consumers
       20    regarding SmileDirect and its Affiliated Dental Practices.
       21              91.   On September 30, 2019, SmileDirect’s retained counsel
       22    responded to a recent patient records request, reiterating its objection to
       23    the Board, Members of the Board, and Tippins’ pattern of anticompetitive
       24    behavior. Letter September 30, 2019, attached as Ex. A (redacted to
       25    remove protected health information).
       26    ///
       27    ///
       28                                                  29
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        1    IV.       This Conduct Was Intended to Stifle Competition as Opposed to
        2              Protect Any Legitimate Public Interest.
        3              92.   The Board’s and Tippins’ campaign against SmileDirect and its
        4    Affiliated Dental Practices is not intended to protect any legitimate public
        5    interest. Instead, the campaign is designed to prevent Affiliated Dental
        6    Practices and their Treating Doctors who utilize the SmileDirect tele-
        7    dentistry platform and other DSO Services from competing with the
        8    Board’s         own   market    participants     and    constituent   dentists   and
        9    orthodontists who treat mild to moderate malocclusion using the
       10    traditional, in-office delivery model.
       11              93.   The Federal Trade Commission (“FTC”) has recognized the
       12    potential for conflict between federal antitrust laws and state regulatory
       13    boards dominated by active members of their respective industries. In
       14    2015, after the United States Supreme Court decision North Carolina State
       15    Board of Dental Examiners v. FTC, 135 S. Ct. 1101, the FTC issued
       16    guidance entitled “FTC Staff Guidance on Active Supervision of State
       17    Regulatory Boards Controlled by Market Participants,” attached as Ex. B.
       18    That guidance made clear the special scrutiny applied to actions by state
       19    regulatory boards controlled by market participants and laid out specific
       20    guidance relevant to restraints imposed by such boards.
       21              94.   In two pending antitrust cases filed by SmileDirect and its
       22    Affiliated Dental Practices and Treating Doctors against state dental board
       23    members, the DOJ and the FTC filed joint amicus briefs in the Eleventh
       24    Circuit in support of SmileDirect’s position. See SmileDirectClub, LLC v.
       25    Battle, et al., Brief for the United States and the Federal Trade Commission
       26    as Amici Curiae Supporting Plaintiff – Appellee [SmileDirectClub, LLC] No.
       27    19-12227 (11th Circuit, filed 9/25/2019), attached as Ex. C; Leeds, et al.
       28                                                  30
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        1    v. Jackson, et al., Brief for the United States and the Federal Trade
        2    Commission          as    Amici    Curiae      Supporting     Plaintiff   –   Appellee
        3    [SmileDirectClub, LLC] No. 19-11502 (11th Circuit, filed 9/11/2019),
        4    attached as Ex. D. In each case, a state dental board took actions aimed
        5    at restricting SmileDirect’s tele-dentistry model. In each case, the DOJ and
        6    FTC reiterated that “[c]ompetition is ‘the fundamental principle governing
        7    commerce in this country’”. (Ex. C, p. 15; Ex. D, p. 16). The DOJ and FTC
        8    also reinforced the importance of applying “rigorous” tests applied to
        9    “allegedly anticompetitive decisions by licensing boards that are controlled
       10    by active market participants.” (Ex. D, p. 18, 23; see also Ex. C, p. _17)
       11              95.   Here, the Board and its Members have failed to heed the
       12    government’s warnings or to follow any of the FTC’s guidance based on
       13    their actions towards SmileDirect, Dr. Sulitzer, or Sulitzer P.C. The Board
       14    and its Members are not acting under any clearly articulated and
       15    affirmatively stated policy or legislation. There is no regulation authorizing
       16    the Board and its Members’ attempt to extend their reach to the provision
       17    of non-clinical support services to state-licensed dentists. Nor has a non-
       18    market participant outside of the Board actively and substantively
       19    supervised the Board’s and Tippins’ activities with respect to SmileDirect,
       20    Dr. Sulitzer, and Sulitzer P.C. Instead, the Board and its Members are
       21    expanding their reach only to stifle competition from the Affiliated Dental
       22    Practices that utilize SmileDirect’s revolutionary tele-dentistry model.
       23              96.   The Board’s economic protectionism will harm consumers in
       24    the State of California and elsewhere. The restriction or elimination from
       25    the market of Affiliated Dental Practices utilizing SmileDirect’s model as a
       26    competitor will prevent the Affiliated Dental Practices from providing care
       27

       28                                                   31
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        1    to previously underserved populations. It also will substantially increase
        2    the cost of treatment and eliminate choices for consumers.
        3              97.   While the Board Members and Tippins have used their offices
        4    to perpetrate their misconduct under color of state law, they in fact do not
        5    have any actual authority to regulate the services provided by SmileDirect.
        6    SmileDirect provides only non-clinical support services; it does not
        7    examine, diagnose, or treat any malady. The same is true for SMILESHOP
        8    stores and SmileBus employees.
        9              98.   The Board’s and Tippins’ campaign also unlawfully and unfairly
       10    burdens         and    discriminates     against    out-of-state    companies      like
       11    SmileDirect, as well as dentists like Dr. Sulitzer who may practice dentistry
       12    in more than one State and greatly benefit from SmileDirect’s tele-dentistry
       13    platform        to   connect   with    patients    in   other   States   without   the
       14    inconvenience of having to travel back-and-forth to brick-and-mortar
       15    offices. Severely restricting or prohibiting Dr. Sulitzer and other Treating
       16    Doctors who are licensed in California from providing certain services and
       17    related orthodontic treatment to California patients unless they are
       18    physically present in a SMILESHOP retail location or onboard the
       19    SmileBus would severely restrict, if not eliminate, interstate commerce in
       20    this market.
       21              99.   In their attempt to restrict consumer choice and interstate
       22    commerce, the Board Members’ and Tippins’ misconduct also fails to
       23    protect the public in any manner. The Board’s and Tippins’ efforts to
       24    harass and attempt to intimidate SmileDirect and its Affiliated Dental
       25    Practices (1) was not done in compliance with any rulemaking authority or
       26    procedures; (2) reduces California consumers’ access to care; (3) increases
       27    the cost of tele-dentistry, the provision of DSO Services to tele-dentists, and
       28                                                  32
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        1    overall orthodontic care; (4) does not protect the public; (5) deprives
        2    SmileDirect of the full value of its authorization to conduct business in
        3    California; and (6) deprives SmileDirect’s Affiliated Dental Practices in
        4    California, including Dr. Sulitzer and Sulitzer P.C., of the full value of their
        5    dental licenses in the state of California and their constitutionally protected
        6    liberty and property interests.
        7    V.        Harm to SmileDirect, Dr. Sulitzer, Sulitzer P.C., and the Public
        8              100. In the absence of tele-dentistry competition from Affiliated
        9    Dental        Practices   using    SmileDirect’s      model,   other   dentists   and
       10    orthodontists will continue to be able to charge their higher prices to
       11    consumers for clear aligner products. This practice drives up costs, which
       12    are borne by consumers in addition to already increased costs for
       13    consumers required to travel to and pay for a visit to a traditional brick-
       14    and-mortar office to see a dentist or orthodontist in person (particularly if
       15    the visit is not covered by insurance).
       16              101. SmileDirect, Dr. Sulitzer and Sulitzer P.C. will suffer significant
       17    economic injury and damage as a result of the Board’s, its Members’ and
       18    Tippins’ acts and omissions. They will suffer lost business that they would
       19    have otherwise obtained (1) through their offering of clear aligner therapy
       20    treatment at significantly lower prices than the more traditional treatments
       21    offered by other dentists and orthodontists; and (2) through their use of
       22    tele-dentistry and the SmileCheck platform to connect with consumers in
       23    areas lacking orthodontists.
       24    ///
       25    ///
       26    ///
       27    ///
       28                                                   33
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        1                                  FIRST CAUSE OF ACTION
        2

        3                       Violations of Federal Sherman Antitrust Act

        4                                    (15 U.S.C. § 1, et seq.)

        5                         (By All Plaintiffs against All Defendants)

        6
                       102. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. incorporate by
        7
             reference each and every allegation of the preceding paragraphs as though
        8
             fully set forth herein.
        9
                       103. The “relevant market” in which to evaluate the anti-competitive
       10
             effect of the conduct of the Members and Tippins is the market for tooth
       11
             alignment treatment for mild to moderate malocclusion in California, and
       12
             the method of delivering that treatment to consumers.
       13
                       A.   The relevant products in this market are tooth alignment
       14
                            therapy treatments for mild and moderate malocclusion
       15
                            and the method of delivering the treatments to consumers.
       16
                       B.   The relevant geographic market is properly limited to
       17
                            California. Upon information and belief, consumers in
       18
                            California    generally    seek    tooth      alignment   therapy
       19
                            treatment from local providers in the State, and as a result
       20
                            do not travel outside the State in any appreciable numbers
       21
                            to obtain tooth alignment therapy treatment.
       22
                       C.   Thus, if the price of tooth alignment therapy treatment for
       23
                            mild to moderate malocclusion in California increases as
       24
                            a result of the campaign by the Board, its Members, and
       25
                            Tippins against SmileDirect and its Affiliated Dental
       26
                            Practices (including Dr. Sulitzer and Sulitzer, P.C.),
       27
                            consumers will have to pay the higher prices for tooth
       28                                                  34
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        1                   alignment therapy treatment within California, and
        2                   perhaps travel longer distances within the State to seek
        3                   such services.
        4              104. The majority of the Members who are dentists or orthodontists
        5    (or work in the dental industry) are actual or potential participants in the
        6    Relevant Market and have incentives to restrict competition in the Relevant
        7    Market to prevent the delivery of orthodontic services and the provision of
        8    tooth alignment therapy through the innovative model provided by
        9    SmileDirect.
       10              105. The Members and Tippins, through their anti-competitive
       11    actions and omissions, knowingly formed, joined, and entered into an
       12    agreement, contract, combination, or conspiracy in restraint of trade and
       13    commerce to burden, restrict, or prevent SmileDirect from providing non-
       14    clinical, administrative support services in the Relevant Market.
       15              106. The Members and Tippins, through their anti-competitive
       16    actions and omissions, entered into an agreement, contract, combination,
       17    or conspiracy in restraint of trade and commerce to burden, restrict, or
       18    prevent Dr. Sulitzer and Sulitzer P.C. from practicing tele-dentistry in the
       19    Relevant Market.
       20              107. As is evidenced by the Members’ failure to take any remedial
       21    action whatsoever in response to Tippins’ harassing and intimidating
       22    conduct (and, on information and belief their acquiescence, direction,
       23    approval, agreement, or ratification of that misconduct) the Members have
       24    demonstrated a unity of purpose, as well as common design and
       25    understanding, with Tippins to reduce or eliminate SmileDirect’s ability to
       26    provide non-clinical services to California-licensed Treating Doctors in the
       27    Relevant Market, as well as the Treating Doctors’ ability to practice tele-
       28                                                  35
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        1    dentistry in the Relevant Market despite being licensed to practice
        2    dentistry in California. This in turn reduces competition in the Relevant
        3    Market. The Members possessed, and still possess, a conscious
        4    commitment to a common scheme designed to achieve an unlawful
        5    objective.
        6              108. The Members can enforce their output-restricting agreement by
        7    using the power and authority of their office to preclude entrance of
        8    competing providers, products, and platforms into the Relevant Market, or
        9    to restrict the method of competition in the Relevant Market.
       10              109. The Members’ and Tippins’ actions and omissions evidence a
       11    predatory intent to deprive dentists and orthodontists of a new, more
       12    efficient method to compete in the Relevant Market. Through their actions,
       13    the Members and Tippins intend to reduce in the Relevant Market (1) the
       14    number of dental providers who prescribe certain clear aligner treatment
       15    in California; (2) the number and type of clear aligners prescribed to
       16    consumers; and (3) the output of such services. These actions and
       17    omissions do not enhance public health and safety in California and do
       18    not serve any legitimate public purpose.
       19              110. By engaging in an ongoing pattern of harassing or intimidating
       20    acts as part of their monopolistic design, the Members and Tippins have
       21    wrongfully, unlawfully, and unfairly (1) restricted California consumers’
       22    access to affordable orthodontic treatment to straighten their teeth
       23    (through SmileDirect’s tele-dentistry platform); (2) harmed consumers due
       24    to restricted options for such treatment; (3) stifled competition in favor of
       25    established special interests; (4) deprived SmileDirect of the full value of its
       26    authorization to conduct business in California; (5) deprived SmileDirect’s
       27    Affiliated Dental Practices in California, including Dr. Sulitzer and Sulitzer
       28                                                  36
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        1    P.C., of the full value of their dental licenses in California and their
        2    constitutionally protected liberty and property interests; and (6) failed to
        3    protect the public in any manner.
        4              111. The Members’ and Tippins’ actions and omissions constitute a
        5    per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. On their
        6    face, the actions and omissions restrict, and are intended to restrict, the
        7    method of competing in the Relevant Market, thereby restricting the
        8    number of competitors and causing prices in the Relevant Market to rise,
        9    maintain, or stabilize above competitive levels.
       10              112. Alternatively, these actions and omissions constitute a violation
       11    of Section 1 of the Sherman Act, 15 U.S.C. § 1, under the Rule of Reason;
       12    therefore, the Members and Tippins have violated the Federal Sherman
       13    Antitrust Act, 15 U.S.C. § 1.
       14              113. As a direct, proximate, and foreseeable result of Tippins’ and
       15    the Members’ actions and omissions, their conduct (or lack thereof) has or
       16    will substantially affect interstate commerce or occur within the flow of
       17    interstate commerce.
       18              114. As a direct, proximate, and foreseeable result of Tippins’ and
       19    the Members’ actions and omissions, SmileDirect, Dr. Sulitzer, and
       20    Sulitzer P.C. have or will suffer damages and injury.
       21              115. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. therefore seek
       22    injunctive relief against the Members and Tippins in their official
       23    capacities prohibiting the unlawful and anticompetitive behavior.
       24              116. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. also seek treble
       25    damages and attorney’s fees from the Members and Tippins in their
       26    individual capacities.
       27     ///
       28                                                  37
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        1                                SECOND CAUSE OF ACTION
        2

        3                         Violations of Dormant Commerce Clause

        4                  (U.S Const., art. I, sec. 8, cl. 3 and 28 U.S.C. § 1983)

        5                         (By All Plaintiffs Against All Defendants)

        6

        7              117. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. incorporate by
        8    reference each and every allegation of the preceding paragraphs as though
        9    fully set forth herein.
       10              118. This Count is brought pursuant to 42 U.S.C. § 1983 and the
       11    Commerce Clause of the United States Constitution, Article I, Section 8,
       12    Clause 3, which provides that “Congress shall have Power . . . [t]o regulate
       13    Commerce with foreign Nations, and among the several States . . . .”
       14              119. Pursuant to the Commerce Clause’s dormant aspect, the Board
       15    or its Members cannot take regulatory actions that benefit in-state
       16    interests by burdening out-of-state competitors, as such regulatory
       17    actions unreasonably or unduly interfere with interstate commerce.
       18              120. The Board’s and its Members’ arbitrary and irrational attempts
       19    through harassment, intimidation, and frivolous investigations to exercise
       20    regulatory authority over activities in SMILESHOP stores and on
       21    SmileBuses, and over SmileDirect’s provision of non-clinical services to
       22    Affiliated Dental Practices, disproportionately affect interstate operations
       23    of SmileDirect, its Affiliated Dental Practices such as Sulitzer P.C., and its
       24    California-licensed Treating Doctors. SmileDirect is an out-of-state
       25    company that provides DSO Services including its tele-dentistry platform,
       26    for offsite dentists or orthodontists to review information collected from the
       27    consumers online and at SMILESHOP stores or onboard a SmileBus. In
       28                                                  38
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        1    practical operation and effect, the Board’s and its Members’ actions,
        2    through Tippins’ campaign against SmileDirect and its Affiliated Dental
        3    Practices, discriminates against out-of-state businesses like SmileDirect
        4    and        protects   domestic     providers    from    lawful   competition.    This
        5    discrimination against the interstate activities and operations of
        6    SmileDirect, Sulitzer P.C., and Dr. Sulitzer violates their constitutional
        7    rights.
        8              121. There is no legitimate local purpose or public interest that
        9    justifies substantially burdening SmileDirect, Sulitzer P.C., and Dr.
       10    Sulitzer through harassment, intimidation, and frivolous investigations to
       11    exercise where there is no regulatory authority over the activities in the
       12    SMILESHOP stores, SmileBuses, or over SmileDirect’s DSO Services,
       13    including its tele-dentistry platform.
       14              122. In the alternative, the Board’s and its Members’ attempts
       15    through harassment, intimidation, and frivolous investigations to exercise
       16    regulatory authority over activities in SMILESHOP stores and on
       17    SmileBuses and SmileDirect’s DSO Services discriminates against the
       18    emerging technology and tele-dentistry platform offered by an out-of-state
       19    company, SmileDirect, thus preventing it from pursuing its direct-to-
       20    consumer model in California. Given that there are no benefits to the
       21    public in the improper exercise of regulatory authority over activities in
       22    SMILESHOP stores and on SmileBuses when such activity is inherently
       23    safe, the burden imposed on commerce is clearly excessive in relation to
       24    the putative local benefits.
       25              123. These burdens substantially and adversely affect interstate
       26    commerce because SmileDirect, Dr. Sulitzer, and Sulitzer P.C. provide
       27    services in and through interstate commerce vis-à-vis SmileDirect’s web-
       28                                                  39
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        1    based tele-dentistry platform, which remotely connects consumers with
        2    state-licensed dentists or orthodontists for evaluation, diagnosis, and
        3    possible prescription for clear aligner therapy treatment. They further
        4    cause services to be provided in interstate commerce because a
        5    prescription for clear aligner therapy treatment is sent to an FDA-approved
        6    facility for fulfillment, where the clear aligners are created and then
        7    shipped directly to patients.
        8              124. In fact, since March 2017, when SmileDirect began conducting
        9    business in California in conjunction with Affiliated Dental Practices (such
       10    as Sulitzer P.C.) that are duly licensed to practice in California, tens of
       11    thousands of California consumers have been able to receive doctor
       12    directed, remote clear aligner therapy from the California-licensed Treating
       13    Doctors who utilize the non-clinical services performed at SMILESHOP
       14    retail locations, or through SmileBuses.
       15              125. Upon information and belief, the Members who are licensed
       16    California dentists also prescribe clear aligner therapy treatment using
       17    products that are sold across state lines, are created in facilities outside
       18    of California, and are then shipped into the State directly to consumers
       19    and/or to their dentists or orthodontists.
       20              126. By restraining competition for clear aligner therapy treatment
       21    in California, the flow of interstate commerce is interrupted. The aligner
       22    products offered by SmileDirect, Dr. Sulitzer, and Sulitzer P.C. are sent to
       23    California consumers across state lines in the ordinary course of
       24    commerce. Before the aligners are created and shipped, however, the
       25    consumer must have photographs taken of his or her teeth and gums to
       26    ensure a comfortable and accurately fitting product, and those
       27    photographs and all other information gathered from the consumer online
       28                                                  40
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        1    and at the SMILESHOP location or SmileBus must also be evaluated by a
        2    state-licensed Treating Doctor. The activities of the Board, its Members,
        3    and Tippins, effectively bars the clear aligners prescribed by California-
        4    licensed Treating Doctors using SmileDirect’s tele-dentistry platform from
        5    entering California—while still allowing other similar products to be sold
        6    in the State.
        7              127. Thus, the Board’s, its Members’, and Tippins’ attempts through
        8    harassment, intimidation, and frivolous investigations to exercise
        9    regulatory authority over activities in SMILESHOP stores and on
       10    SmileBuses and SmileDirect’s DSO Services has the intended effect of
       11    prohibiting the sale of clear aligners in California that are prescribed by
       12    California-licensed Treating Doctors using SmileDirect’s tele-dentistry
       13    platform—including the clear aligners prescribed by Dr. Sulitzer through
       14    Sulitzer P.C., which SmileDirect fulfills. This further results in reducing
       15    the volume of interstate commerce occurring in California’s markets, all to
       16    the detriment of California consumers.               As a result, the Board’s, its
       17    Members’, and Tippins’ attempts through harassment, intimidation, and
       18    frivolous investigations to exercise regulatory authority over activities in
       19    SMILESHOP stores and on SmileBuses and SmileDirect’s DSO Services
       20    are discriminatory both on their face and due to their effect or purpose on
       21    interstate commerce.
       22              128. Even if there were a legitimate local purpose or public interest
       23    for Board’s, its Members’, and Tippins’ attempts through harassment,
       24    intimidation, and frivolous investigations to exercise regulatory authority
       25    over activities in SMILESHOP stores and on SmileBuses and SmileDirect’s
       26    DSO         Services,   it   would    be   adequately        served   by   reasonable,
       27

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        1    nondiscriminatory alternatives through the discussions that SmileDirect,
        2    Sulitzer P.C., and Sultizer have offered to have with the Board.
        3              129. Accordingly, this Court should grant declaratory and injunctive
        4    relief restraining the Members’ and Tippins’ violation of the Commerce
        5    Clause, and award SmileDirect, Dr. Sulitzer, and Sulitzer P.C. their
        6    attorneys’ fees and costs.
        7
                                          THIRD CAUSE OF ACTION
        8

        9                           Violations of Equal Protection Clause
       10                       (U.S. Const., Am. XIV and 42 U.S.C. § 1983)
       11                         (By All Plaintiffs against All Defendants)
       12

       13              130. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. incorporate by
       14    reference each and every allegation of the preceding paragraphs as though
       15    fully set forth herein.
       16              131. This Count is brought pursuant to 42 U.S.C. § 1983 and the
       17    Equal Protection Clause of the United States Constitution, Fourteenth
       18    Amendment, which prohibits states from denying “equal protection of the
       19    laws” to any person within its jurisdiction.
       20              132. Pursuant to the Equal Protection Clause, the Board cannot take
       21    regulatory actions that benefit in-state interests by burdening out-of-state
       22    competitors, without a rational relationship to a legitimate governmental
       23    interest.
       24              133. Upon information and belief, the Members who are licensed
       25    California dentists also prescribe clear aligner therapy treatment using
       26    products that are sold across state lines, are created in facilities outside
       27

       28                                                  42
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        1    of California, and are then shipped into the State directly to consumers
        2    and/or to their dentists or orthodontists.
        3              134. By restraining competition for clear aligner therapy treatment
        4    in California, the Defendants discriminated against Smile Direct, Dr.
        5    Sulitzer, and Sulitzer P.C., and the flow of interstate commerce is
        6    interrupted. The aligner products offered by SmileDirect, Dr. Sulitzer, and
        7    Sulitzer P.C. are sent to California consumers across state lines in the
        8    ordinary course of commerce. Before the aligners are created and shipped,
        9    however, the consumer must have photographs taken of his or her teeth
       10    and gums to ensure a comfortable and accurately fitting product, and
       11    those photographs and all other information gathered from the consumer
       12    online and at the SMILESHOP location or SmileBus must also be evaluated
       13    by a state-licensed Treating Doctor. The Board’s, its Members’, and
       14    Tippins’ attempts through harassment, intimidation, and frivolous
       15    investigations        to   exercise   regulatory    authority   over    activities   in
       16    SMILESHOP stores and on SmileBuses, and over SmileDirect’s provision
       17    of DSO Services effectively bars the clear aligners prescribed by California-
       18    licensed Treating Doctors using SmileDirect’s tele-dentistry platform from
       19    entering California, while still allowing other similar products to be sold in
       20    the State.
       21              135. As detailed above there is no rational basis or legitimate
       22    governmental interest that justifies discriminating against the emerging
       23    technology and tele-dentistry platform offered by an out-of-state company,
       24    SmileDirect, and the Affiliated Dental Practices and California-licensed
       25    Treating Doctors who utilize SmileDirect’s non-clinical services, thus
       26    preventing SmileDirect and its Affiliated Dental Practices from pursuing
       27    their direct-to-consumer model in California. There are also no benefits to
       28                                                  43
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        1    the public in the improper exercise of regulatory authority over activities
        2    in SMILESHOP stores and on SmileBuses when such activity is inherently
        3    safe.
        4              136. Thus, the Board’s, its Members’, and Tippins’ attempts through
        5    harassment, intimidation, and frivolous investigations to exercise
        6    regulatory authority over activities in SMILESHOP stores and on
        7    SmileBuses has the intended effect of prohibiting the sale of clear aligners
        8    in California, which are prescribed by California-licensed Treating Doctors
        9    using SmileDirect’s tele-dentistry platform—to the detriment of California
       10    consumers.
       11              137. Thus, the Board’s, its Members’, and Tippins’ attempts through
       12    harassment, intimidation, and frivolous investigations to exercise
       13    regulatory authority over activities in SMILESHOP stores and on
       14    SmileBuses has the intended effect of harming SmileDirect, Dr. Sulitzer
       15    and Sulitzer P.C. by prohibiting their sale of clear aligners in California to
       16    the detriment of California consumers.
       17              138. Even if there were a legitimate local purpose or public interest
       18    for Board’s, its Members’, and Tippins’ attempts through harassment,
       19    intimidation, and frivolous investigations to exercise regulatory authority
       20    over activities in SMILESHOP stores and on SmileBuses and SmileDirect’s
       21    DSO         Services,   it   would     be   adequately       served   by   reasonable,
       22    nondiscriminatory alternatives through the discussions that SmileDirect,
       23    Sulitzer P.C., and Sultizer have offered to have with the Board.
       24              139. Accordingly,     this   Court    should       grant    injunctive   relief
       25    restraining the Members’ and Tippins’ violation of the Equal Protection
       26    Clause, and award SmileDirect, Dr. Sulitzer, and Sulitzer P.C. their
       27    attorneys’ fees and costs.
       28                                                  44
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        1                                FOURTH CAUSE OF ACTION
        2

        3                          Violations of Substantive Due Process

        4                       (U.S. Const., Am. XIV and 42 U.S.C. § 1983)

        5                         (By All Plaintiffs against All Defendants)

        6

        7              140. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. incorporate by

        8    reference each and every allegation of the preceding paragraphs as though

        9    fully set forth herein.

       10              141. This Count is brought pursuant to 42 U.S.C. § 1983 and the

       11    Due Process Clause of the United States Constitution’s Fourteenth

       12    Amendment, which prohibits states from depriving any person of “life,

       13    liberty, or property, without due process of law” to any person within its

       14    jurisdiction.

       15              142. Dr. Sulitzer and Sulitzer P.C. each possess liberty and property

       16    interests to pursue Dr. Sulitzer’s chosen profession and Sulitzer P.C.’s

       17    business, as a licensed out-of-state dentist providing tele-dentistry

       18    services to California residents across state lines, subject only to

       19    regulations that are rationally related to a legitimate government interest.

       20              143. SmileDirect possesses liberty and property interests in the

       21    ability to conduct a business that provides non-clinical support services

       22    to Affiliated Dental Practices

       23              144. The Board, its Members, and Tippins cannot take regulatory,

       24    administrative, enforcement, or other actions that benefit in-state

       25    interests by burdening out-of-state competitors, without a rational

       26    relationship to a legitimate governmental interest.

       27              145. Upon information and belief, the Members who are licensed

       28    California dentists also prescribe clear aligner therapy treatment using
                                                           45
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        1    products that are sold across state lines, are created in facilities outside
        2    of California, and are then shipped into the State directly to consumers
        3    and/or to their dentists or orthodontists.
        4              146. By restraining competition for clear aligner therapy treatment
        5    in California, the flow of interstate commerce is interrupted. The aligner
        6    products offered by SmileDirect, Dr. Sulitzer, and Sulitzer P.C. are sent to
        7    California consumers across state lines in the ordinary course of
        8    commerce. Before the aligners are created and shipped, however, the
        9    consumer must have photographs taken of his or her teeth and gums to
       10    ensure a comfortable and accurately fitting product, and those
       11    photographs and all other information gathered from the consumer online
       12    and at the SMILESHOP location or SmileBus must also be evaluated by a
       13    state-licensed Treating Doctor. The Board’s, its Members’, and Tippins’
       14    attempts through harassment, intimidation, and frivolous investigations
       15    to exercise regulatory authority over activities in SMILESHOP stores and
       16    on SmileBuses, and over SmileDirect’s provision of DSO Services
       17    effectively bars the clear aligners prescribed by California-licensed
       18    Treating Doctors using SmileDirect’s tele-dentistry platform from entering
       19    California, while still allowing other similar products to be sold in the
       20    State.
       21              147. As detailed above there is no rational basis or legitimate
       22    governmental interest that justifies discriminating against the emerging
       23    technology and tele-dentistry platform offered by an out-of-state company,
       24    SmileDirect, and the Affiliated Dental Practices and California-licensed
       25    Treating Doctors who utilize SmileDirect’s non-clinical services, thus
       26    preventing SmileDirect and its Affiliated Dental Practices from pursuing
       27    their direct-to-consumer model in California. There are also no benefits to
       28                                                  46
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        1    the public in the improper exercise of regulatory authority over activities
        2    in SMILESHOP stores and on SmileBuses when such activity is inherently
        3    safe.
        4              148. Tippins, the Board, and its Members also received adequate
        5    notice of the discriminatory effect of their expansive view of what
        6    constitutes the practice of dentistry in California. However, they refused
        7    to give SmileDirect and its Affiliated Dental practices the opportunity to be
        8    heard.
        9              149. Thus, the Board’s, its Members’, and Tippins’ attempts through
       10    harassment, intimidation, and frivolous investigations to exercise
       11    regulatory authority over activities in SMILESHOP stores and on
       12    SmileBuses has the intended effect of prohibiting the sale of clear aligners
       13    in California, which are prescribed by California-licensed Treating Doctors
       14    using SmileDirect’s tele-dentistry platform—to the detriment of California
       15    consumers.
       16              150. Thus, the Board’s, its Members’, and Tippins’ attempts through
       17    harassment, intimidation, and frivolous investigations to exercise
       18    regulatory authority over activities in SMILESHOP stores and on
       19    SmileBuses has the intended effect of harming SmileDirect, Dr. Sulitzer,
       20    and Sulitzer P.C. by prohibiting their sale of clear aligners in California to
       21    the detriment of California consumers.
       22              151. Even if there were a legitimate local purpose or public interest
       23    for such conduct, it would be adequately served by reasonable,
       24    nondiscriminatory alternatives.
       25              152. Accordingly,     this   Court    should       grant   injunctive   relief
       26    restraining the Members’ and Tippins’ violations of the Due Process
       27

       28                                                  47
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        1    Clause, and award SmileDirect, Dr. Sulitzer, and Sulitzer P.C. their
        2    attorneys’ fees and costs.
        3
                                           FIFTH CAUSE OF ACTION
        4

        5                    Violations of California’s Unfair Competition Law
        6                         (Cal. Bus. & Prof. Code § 17200, et seq.)
        7                         (By All Plaintiffs Against All Defendants)
        8              153. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. incorporate by
        9    reference each and every allegation of the preceding paragraphs as though
       10    fully set forth herein.
       11              154. The Board’s, its Members’, and Tippins’ conduct, including the
       12    unauthorized entry into the SmileBus without authority or jurisdiction,
       13    the belligerent and harassing conduct and statements made to the
       14    SmileBus manager in the presence of consumers, the failure to correct the
       15    consumer’s misimpressions about Tippins’ position, and the statements
       16    made to the consumer regarding an active investigation, all constitute
       17    unlawful, unfair, or fraudulent business acts or practices within the
       18    meaning of California Business and Professions Code sections 17200, et.
       19    seq.
       20              155. The Board, its Members, and Tippins committed and continue
       21    to commit acts of unfair competition by engaging in the conduct as alleged
       22    herein, including the history of frivolous investigations of SmileDirect;
       23    investigators posing as fake customers, harassing employees and
       24    intimidating customers; Tippins’ failure to abide by SmileDirect’s counsel’s
       25    instructions regarding correspondence and investigations; and Tippins’
       26    apparent vendetta against SmileDirect.
       27

       28                                                  48
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        1              156. The Board and its Members committed and continue to commit
        2    acts of unfair competition by engaging in the conduct as alleged herein,
        3    including providing direction to Tippins to engage in the above conduct, or
        4    approving, ratifying, or acquiescing in such conduct; and in failing to take
        5    remedial, corrective, disciplinary, or other appropriate action due to
        6    Tippins’ conduct.
        7              157. The Board, its Members, and Tippins committed and continue
        8    to commit acts of unlawful competition by engaging in the conduct as
        9    alleged herein, and doing so in violation of the Constitution and laws of
       10    the United States, as alleged herein.
       11              158. The Board’s, its Members’, and Tippins’ conduct has caused
       12    SmileDirect, Dr. Sulitzer, and Sulitzer P.C. irreparable harm and
       13    harassment, and SmileDirect, Dr. Sulitzer, and Sulitzer P.C. (as well as
       14    their employees) will continue to suffer irreparable injury unless Tippins
       15    and the Members, and anyone acting at their direction or under their
       16    control, are enjoined from continuing these unlawful, unfair, and
       17    fraudulent acts or practices, in their official and individual capacities.
       18              159. SmileDirect, Dr. Sulitzer, and Sulitzer P.C. have also suffered
       19    loss of money and property as a result of this conduct by Tippins and the
       20    Members in their individual capacities, in an amount to be determined at
       21    trial, which exceeds the jurisdictional minimum of this Court.
       22                                    PRAYER FOR RELIEF
       23              WHEREFORE, Plaintiffs Jeffrey Sulitzer, D.M.D.; Jeffrey Sulitzer,
       24    D.M.D., a Professional Corporation; and SmileDirectClub, LLC, and each
       25    of them, pray for judgment against Defendants Joseph Tippins; Karen M.
       26    Fischer; Fran Burton; Steven Morrow; Steven Chan; Yvette Chappell-
       27    Ingram; Ross Lai; Lilian Larin; Huong Le; Meredith McKenzie; Abigail
       28                                                  49
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        1    Medina; Rosalinda Olague; Joanne Pacheco; Thomas Stewart; Bruce L.
        2    Whitcher; and James Yu, and each of them, jointly and severally, as
        3    follows:
        4              I.   For equitable relief as appropriate for each cause of
        5                   action herein, including but not limited to:
        6                   A.    An injunction preliminarily and permanently
        7                         enjoining Tippins from:
        8                         1.    Engaging in, committing, or performing,
        9                               directly      or    indirectly,       any        conduct
       10                               designed to harass, annoy, or embarrass
       11                               Dr.     Sulitzer;        Sulitzer       P.C.;          and
       12                               SmileDirect, or any of them, or their
       13                               employees and customers;
       14                         2.    Being       assigned     to,    or    in     any      way
       15                               participating in, directly or indirectly, an
       16                               investigation       by    the        Board       or     its
       17                               Enforcement Unit, that may now exist or
       18                               may ever exist in the future, that pertains
       19                               to    Dr.    Sulitzer;     Sulitzer        P.C.;       and
       20                               SmileDirect, or any of them;
       21                         3.    Making       any    statements,        implications,
       22                               inferences, references, or the like to the
       23                               public, whether directly or indirectly,
       24                               regarding          any    current           or        prior
       25                               investigation, or any future investigation,
       26                               related to Dr. Sulitzer; Sulitzer P.C.; and
       27                               SmileDirect, or any of them.
       28                                                   50
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        1                   B.    An injunction preliminarily and permanently
        2                         enjoining the Members named as Defendants
        3                         herein, including all successors, and anyone
        4                         acting under their direction or control, from:
        5                         1.    Engaging in, committing, or performing,
        6                               directly    or   indirectly,      any   conduct
        7                               designed to or actually does harass,
        8                               annoy, or embarrass Dr. Sulitzer; Sulitzer
        9                               P.C.; and SmileDirect, or any of them, or
       10                               their employees and customers;
       11                         2.    Engaging in, committing, or performing,
       12                               directly    or   indirectly,      any   conduct
       13                               designed to or actually does restrict
       14                               competition from Dr. Sulitzer, Sulitizer
       15                               P.C., and SmileDirect, or any of them;
       16                         3.    Engaging in, committing, or performing,
       17                               directly    or   indirectly,      any   conduct
       18                               intended to or that actually does violate
       19                               the Dormant Commerce Clause, Equal
       20                               Protection Clause, or Due Process Clause
       21                               of   the    United     States      Constitution,
       22                               including equivalent provisions in any
       23                               State’s constitution, with respect to Dr.
       24                               Sulitzer; Sulitizer P.C.; and SmileDirect, or
       25                               any of them; and
       26                         4     Making     any   statements,       implications,
       27                               inferences, references, or the like to the
       28                                                  51
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        1                                public regarding any current or prior
        2                                investigation, or any future investigation,
        3                                related to Dr. Sulitzer; Sulitzer P.C.; and
        4                                SmileDirect, or any of them.
        5              II.    For actual, direct, incidental, and consequential
        6                     damages according to proof and in such amounts as
        7                     will be proven at trial, as appropriate for each cause
        8                     of action alleged herein.
        9              III.   For treble damages.
       10              IV.    For exemplary and punitive damages.
       11              V.     For statutory damages.
       12              VI.    For pre- and post-judgment interest on all damages
       13                     awarded, as permitted by law;
       14              VII. For costs of suit.
       15              VIII. For attorney’s fees as permitted by contract or law,
       16                     including but not limited to 15 U.S.C. § 15, 42 U.S.C.
       17                     § 1988, and Cal. Code Civ. Proc. § 1021.5.
       18              IX.    For such other and further relief as the Court deems
       19                     just and proper.
       20
             DATE: OCTOBER 16, 2019                   FOLEY & LARDNER LLP
       21                                             BYRON J. McLAIN
       22                                             NICHOLAS J. FOX

       23

       24                                             BY: /S/ BYRON J. MCLAIN           A
                                                         BYRON J. McLAIN
       25                                                Attorneys for Plaintiffs Jeffrey
       26                                                Sulitzer, D.M.D.; Jeffrey Sulitzer,
                                                         D.M.D., a Professional Corporation;
       27
                                                         and SmileDirectClub, LLC
       28                                                  52
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        1                                 DEMAND FOR JURY TRIAL
        2              Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs
        3    Jeffrey       Sulitzer,   D.M.D.;   Jeffrey   Sulitzer,      D.M.D.,   a   Professional
        4    Corporation; and SmileDirectClub, LLC, and each of them, hereby demand
        5    a jury trial on any and all claims or issues in this action so triable as of
        6    right.
        7

        8
             DATE: OCTOBER 16, 2019                   FOLEY & LARDNER LLP
        9                                             BYRON J. McLAIN
                                                      NICHOLAS J. FOX
       10

       11
                                                      BY: /S/ BYRON J. MCLAIN           A
       12
                                                         BYRON J. McLAIN
       13                                                Attorneys for Plaintiffs Jeffrey
       14
                                                         Sulitzer, D.M.D.; Jeffrey Sulitzer,
                                                         D.M.D., a Professional Corporation;
       15                                                and SmileDirectClub, LLC
       16

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